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                                                        13                             UNITED STATES DISTRICT COURT
                                                        14                       NORTHERN DISTRICT OF CALIFORNIA
                                                        15

                                                        16   ROBERT F. KENNEDY, JR.,                    Case No. 5:23-cv-03880
                                                        17                Plaintiff,                    Assigned to the Hon. Trina Thompson
                                                        18          vs.
                                                                                                        FIRST AMENDED COMPLAINT
                                                        19   GOOGLE LLC, a Delaware                     FOR DECLARATORY AND
                                                             corporation, and YOUTUBE, LLC, a           INJUNCTIVE RELIEF
                                                        20   Delaware corporation,
                                                        21                Defendants.                   JURY TRIAL DEMAND
                                                        22

                                                        23   ///
                                                        24   ///
                                                        25   ///
                                                        26   ///
                                                        27   ///
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                                                         1          Plaintiff Robert F. Kennedy, Jr., alleges as follows:
                                                         2                                     INTRODUCTION
                                                         3          1.     This complaint concerns the freedom of speech and the extraordinary
                                                         4   steps the United States government has taken under the leadership of Joe Biden to
                                                         5   silence people it does not want Americans to hear.
                                                         6          2.     Mr. Kennedy is not the only victim of this censorship campaign, which is
                                                         7   unprecedented in American history. But he is a high-profile victim, especially since he
                                                         8   is now challenging President Biden for the Democratic Party’s presidential
                                                         9   nomination.
                                                        10          3.     Mr. Kennedy often speaks at length about topics people would like to
                                                        11   ignore, including the negative health effects of toxic chemicals and potential safety
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                                                        12   concerns about the COVID-19 shots (as well as other vaccines that have been
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                                                        13   developed since Congress gave the pharmaceutical industry immunity from product
                                                        14   liability claims).
                                                        15          4.     YouTube often removes videos of Mr. Kennedy’s comments from its
                                                        16   public platform. It usually relies on its “medical misinformation” policies to justify the
                                                        17   action. It has relied on the policies several times to censor interviews and speeches
                                                        18   given by Mr. Kennedy during the 2024 presidential campaign, including a speech he
                                                        19   gave at Saint Anselm College in New Hampshire, the state that hosts America’s first
                                                        20   primary. On information and belief, it did so based on statements from the Biden
                                                        21   Administration about what information to censor. It will continue to do so throughout
                                                        22   the presidential campaign, especially as the primary elections get closer.
                                                        23          5.     These actions are unlawful. The U.S. Supreme Court has said that “the
                                                        24   right to think is the beginning of freedom” and that “speech must be protected from
                                                        25   the government because speech is the beginning of thought.” Those principles apply
                                                        26   both when the government directly regulates speech and when, as here, it works
                                                        27   behind the scenes to censor its critics through otherwise private actors. Plaintiffs bring
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                                                         1   this action to protect those principles and to preserve their ability to communicate with
                                                         2   Americans on matters of public concern.
                                                         3                        PARTIES, JURISDICTION AND VENUE
                                                         4         6.      Mr. Kennedy resides in New York. He owns property in California and
                                                         5   has been campaigning for president in California, where he has many supporters.
                                                         6         7.      Defendant Google LLC is a limited liability company formed under
                                                         7   Delaware law that has its corporate headquarters in Mountain View, California.
                                                         8         8.      Defendant YouTube, LLC, is a limited liability company formed under
                                                         9   Delaware law that has its corporate headquarters in San Bruno, California.
                                                        10         9.      YouTube, LLC, is a wholly owned subsidiary of Google LLC, which
                                                        11   Google acquired in 2006. On information and belief, Google LLC has complete
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                                                        12   ownership and control over YouTube’s operations. At minimum, Google LLC acts in
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                                                        13   concert with YouTube, LLC, in running YouTube’s business, particularly as it relates
                                                        14   to the unlawful actions alleged in this Complaint. Thus, Google LLC and YouTube,
                                                        15   LLC, are proper defendants in this case and are referred to interchangeably as
                                                        16   “Google” and “YouTube.”
                                                        17         10.     The Court has jurisdiction over this case under 42 U.S.C. § 1983 and 28
                                                        18   U.S.C. § 1331, given the federal questions it raises. It has supplemental jurisdiction
                                                        19   under 23 U.S.C. § 1367 over the state law claim. Venue is proper under 28 U.S.C. §
                                                        20   1391(b)(1).
                                                        21                               FACTUAL ALLEGATIONS
                                                        22         11.     YouTube was started in 2005 by former PayPal executives who thought
                                                        23   people would enjoy having a place to share their own videos. It was an instant
                                                        24   success, so successful, in fact, that Google abandoned its own nascent video service
                                                        25   and instead purchased YouTube for $1.65 billion less than a year after it launched.
                                                        26   Since then, YouTube has become one of the most visited websites in the world and
                                                        27   YouTube is one of the world’s most valuable media companies, with annual revenue
                                                        28                                             3
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                                                         1   that dwarfs the money earned by television networks.
                                                         2         12.    This success has made YouTube a popular place to generate and view
                                                         3   new content, particularly content related to public affairs. For example, in March
                                                         4   2016, YouTube announced that, between April 2015 and March 2016, viewers had
                                                         5   consumed roughly 110 million hours of election-related content on YouTube, much of
                                                         6   which was viewed on mobile devices. Kate Stanford, the director of YouTube’s
                                                         7   advertiser marketing at the time, made much of that, saying: “Voter decisions used to
                                                         8   be made in living rooms, in front of televisions. Today, they’re increasingly made in
                                                         9   micro-moments, on mobile devices.”
                                                        10         13.    Political candidates seized on this development, spending millions of
                                                        11   dollars in advertising and original content on YouTube during the 2016 presidential
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                                                        12   election. That continued in 2020 and it will only increase during the 2024 campaign,
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                                                        13   especially as more political commentators (Meghyn Kelly and Tucker Carlson, for
                                                        14   example) leave network and cable television to broadcast directly to Americans
                                                        15   through the Internet and social media platforms.
                                                        16         14.    Thus, YouTube has become an important platform for political discourse
                                                        17   in America, a digital town square that voters trust as a place to get news and opinions
                                                        18   about the issues of the day, a place where people can communicate about matters of
                                                        19   public concern.
                                                        20         15.    Mr. Kennedy is a lawyer, a son of former Attorney General Robert F.
                                                        21   Kennedy and a nephew of former President John F. Kennedy.
                                                        22         16.    Mr. Kennedy is seeking the Democratic Party’s nomination for president.
                                                        23   He has filed the necessary paperwork with the Federal Election Commission and is
                                                        24   taking steps to qualify for the ballot in the early primary states, including New
                                                        25   Hampshire. He declared his candidacy on April 19, 2023.
                                                        26         17.    Before announcing his campaign, Mr. Kennedy took a strong stance
                                                        27   against the Democratic National Committee’s effort to strip New Hampshire of its
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                                                         1   “First in the Nation” primary. He accepted an invitation to speak about that and other
                                                         2   issues at Saint Anselm College in March. His speech, which was viewed as a political
                                                         3   speech and attended by several prominent New Hampshire Democrats including the
                                                         4   chairman of New Hampshire’s Democratic Party, lasted nearly two hours. It centered
                                                         5   on Mr. Kennedy’s concerns about the corrupt merger of corporate and state power, an
                                                         6   issue he has fought about for years and which, in recent years, caused him to question
                                                         7   the increasing numbers of vaccines American children must take.
                                                         8         18.    Mr. Kennedy’s criticism and questioning of the pharmaceutical industry
                                                         9   over vaccines has been deemed controversial by some people, including government
                                                        10   officials whose funding depends on the pharmaceutical industry. But he spoke
                                                        11   intelligently about his views for years, free of censorship, and with people like the
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                                                        12   former Comedy Central host Jon Stewart who disagree with him, reflecting the
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                                                        13   principle, fundamental to American democracy, that more speech is better than less
                                                        14   speech, especially when it comes to political speech.
                                                        15         19.    That fundamental principle is under attack. It seems to have started after
                                                        16   Big Tech companies like Google, Facebook and Twitter blamed themselves for the
                                                        17   election of Donald Trump as president in 2016. Moreover, in 2018, Congress passed,
                                                        18   and the president signed into law, the Cybersecurity and Infrastructure Security
                                                        19   Agency Act of 2018. This law created a new agency, the Cybersecurity and
                                                        20   Infrastructure Security Agency (“CISA”), within the Department of Homeland
                                                        21   Security to protect America from cyber threats. According to CISA, its mission
                                                        22   “requires effective coordination and collaboration among a broad spectrum of
                                                        23   government and private sector organizations.” These organizations include YouTube
                                                        24   and CISA’s mission apparently includes removing speech about issues of public
                                                        25   concern that the federal government deems dangerous.
                                                        26         20.    The coordination and collaboration between YouTube and the federal
                                                        27   government included developing misinformation policies like the one YouTube has
                                                        28                                             5
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                                                         1   used, and will continue to use, to censor statements that Mr. Kennedy makes in the
                                                         2   2024 presidential campaign. For example, YouTube removed video of Mr. Kennedy’s
                                                         3   March 2023 speech at Saint Anselm’s New Hampshire Institute of Politics that had
                                                         4   been posted on the platform by Manchester Public Television. The station’s director
                                                         5   said: “YouTube will not allow us to post the video because of controversial
                                                         6   vaccination content. MPTS has recorded more than 100 wonderful NHIOP events, and
                                                         7   I cannot recall this happening before.”
                                                         8          21.   YouTube doubled down on the decision, saying that it “removed the
                                                         9   [Kennedy speech] for violating our policies on COVID-19 vaccine misinformation ….
                                                        10   While we do allow content with educational, documentary, scientific or artistic
                                                        11   context, such as news reports, the content we removed from this channel was raw
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                                                        12   footage and did not provide sufficient context.” A true and correct copy of YouTube’s
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                                                        13   original “COVID-19 medical misinformation” policy is attached as Exhibit “A.” A
                                                        14   true and correct copy of its original “vaccine misinformation” policy is attached as
                                                        15   Exhibit “B.”
                                                        16          22.   Since this case was filed, Google merged those two policies into a single
                                                        17   medical misinformation policy. A true and correct copy of it is attached as Exhibit
                                                        18   “C.”
                                                        19          23.   Of course, only a portion of Mr. Kennedy’s Manchester speech dealt with
                                                        20   his views about vaccines or COVID-19. Much of the speech focused on the DNC’s
                                                        21   attempt to strip New Hampshire of its slot in the primary calendar, as well as
                                                        22   Kennedy’s history of environmental activism, including his successful efforts to clean
                                                        23   up the Hudson River. YouTube removed everything.
                                                        24          24.   This was not an isolated incident. Since Mr. Kennedy declared his
                                                        25   candidacy, YouTube has removed other videos of him speaking, including interviews
                                                        26   he did with Jordan Peterson, Joe Rogan and a former New York Post political
                                                        27   reporter. Again, although YouTube cited its medical misinformation policies to justify
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                                                         1   these decisions, it has removed the entire video of Mr. Kennedy speaking.
                                                         2          25.   This trend will continue throughout the 2024 campaign. Unlike other tech
                                                         3   companies—notably Facebook and Instagram (both owned by Facebook parent Meta)
                                                         4   and Twitter (now owned by Elon Musk)—YouTube has not treated Mr. Kennedy
                                                         5   differently now that he is a political candidate. If anything, Mr. Kennedy’s candidacy,
                                                         6   and the issues of public concern he speaks about, have made him an even bigger target
                                                         7   for the public/private censorship regime that Google and YouTube are an integral part
                                                         8   of.
                                                         9          26.   This censorship campaign prevents Mr. Kennedy’s message from
                                                        10   reaching millions of voters. It forces him and his campaign to engage in self-
                                                        11   censorship. (Mr. Kennedy told NPR last year that the censorship had become so bad
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                                                        12   that he could only post things like unicorns and kitten photos on the sites.) And it
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                                                        13   makes it harder for third parties who support his campaign from amplifying his
                                                        14   message.
                                                        15          27.   The decisions to censor Mr. Kennedy on these matters of public concern
                                                        16   were not made by Google/YouTube, acting of its own accord, but as part of the
                                                        17   partnership between Google/YouTube and federal government officials, including the
                                                        18   Biden White House, to censor dissenting views that started during the COVID-19
                                                        19   pandemic. As documents discovered by two state attorneys general show, federal
                                                        20   officials, including White House officials Rob Flaherty and Clarke Humphrey, were
                                                        21   the ones who directed tech companies to remove statements Mr. Kennedy made about
                                                        22   the government’s COVID policies. For example, a true and correct copy of an email
                                                        23   showing Ms. Humphrey’s demand that one tech company, Twitter, remove one of Mr.
                                                        24   Kennedy’s posts on January 22, 2021, is attached as Exhibit “D.”
                                                        25          28.   Although this email targeted Twitter, White House and other government
                                                        26   officials repeatedly worked with the big tech companies, including YouTube, to
                                                        27   censor Mr. Kennedy during 2021 and 2022. The partnership between the executive
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                                                         1   branch and Google appears to have started during the spring of 2021, following the
                                                         2   Biden Administration’s successful efforts to encourage and coerce Facebook and
                                                         3   Twitter to censor more speech about health issues that they did not want Americans to
                                                         4   hear. To that end, in April 2021, a White House staffer named Rob Flaherty reached
                                                         5   out to Google executives, telling them that “we” (that is, President Biden and his
                                                         6   White House staff) “remain concerned that YouTube is ‘funneling’ people into
                                                         7   hesitance and intensifying people’s hesitancy [to take the COVID-19 shots].” Flaherty
                                                         8   said that concern was “shared at the highest (and I mean highest) levels of the White
                                                         9   House.” Flaherty told the Google executives that there was “more work to be done
                                                        10   here.” He asked them to explain “what your road map to empowerment is.” And he
                                                        11   said the White House was “excited to continuing [sic.] partnering with you on this
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                                                        12   work … but we want to make sure that the work extends to the broader problem.
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                                                        13   Needless to say, in a couple of weeks when we’re having trouble getting people to get
                                                        14   vaccinated, we’re going to be in the barrel together.” A copy of Flaherty’s email to the
                                                        15   Google executives, dated April 22, 2021, is attached as Exhibit “E.”
                                                        16         29.     As of April 22, 2021, Google did not have a vaccine misinformation
                                                        17   policy for YouTube. It had no intention of developing one, either. Rather, Google
                                                        18   began developing the vaccine misinformation policy—the only policy it has used to
                                                        19   censor Mr. Kennedy—in response to the White House’s demands for it, as shown
                                                        20   through Flaherty’s meetings and communications with Google executives.
                                                        21         30.     Google embraced its role. As shown in Exhibits “F” through “H,”
                                                        22   between May 2021 and September 2021, Google executives met numerous times with
                                                        23   government officials from the Centers for Disease Control and the Office of the
                                                        24   Surgeon General to discuss the executive branch’s demand for more vaccine-related
                                                        25   censorship.
                                                        26         31.     But the executive branch was getting impatient. After all, President Biden
                                                        27   had campaigned on a promise to eliminate COVID-19. By July 2021, a new variant
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                                                         1   was spreading. The president needed somebody to blame. Thus, on July 16, 2021,
                                                         2   President Biden said: “Look, the only pandemic we have is among the unvaccinated.”
                                                         3   Soon government officials were referring to COVID-19 as a “pandemic of the
                                                         4   unvaccinated.” In the same July 16 speech, Biden said technology companies like
                                                         5   Google were “killing people” by not removing vaccine-critical speech from their
                                                         6   platforms. Around the same time, the Surgeon General issued an advisory calling on
                                                         7   tech companies to aggressively remove criticism of the government’s pro-vaccine
                                                         8   message from their platforms.
                                                         9         32.    Importantly, when making these comments, the president targeted not
                                                        10   just the tech companies but a group of commentators—called the “disinformation
                                                        11   dozen”—that an activist group has targeted for censorship. Biden explained:
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                                                        12   “Facebook isn’t killing people – these 12 people are out there giving misinformation.
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                                                        13   Anyone listening to it is getting hurt by it. It’s killing people. It’s bad information.”
                                                        14         33.    Mr. Kennedy is one of the most prominent members of the alleged
                                                        15   “disinformation dozen.”
                                                        16         34.    These comments, delivered by the Commander in Chief, revealed a plan
                                                        17   to punish tech companies like Google if they did not go along with the Biden
                                                        18   Administration’s censorship goals. They were corroborated by other threatening
                                                        19   statements made by executive branch officials about the tech companies’
                                                        20   responsibility to censor dissenting public health viewpoints, and the consequences if
                                                        21   they did not do so—namely that the White House would push to eliminate the
                                                        22   companies’ section 230 immunity and bring more enforcement actions against them.
                                                        23   Indeed, within days of President Biden’s July 16 “misinformation” speech, CNN
                                                        24   reported that “[t]he White House is reviewing whether social media platforms should
                                                        25   be held legally accountable for publishing misinformation via Section 230, a law that
                                                        26   protects companies’ ability to moderate content ….” A true and correct copy of that
                                                        27   article is attached as Exhibit “I.”
                                                        28                                              9
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                                                         1           35.   The tech companies, especially Google, got the message. As
                                                         2   demonstrated in Exhibit H, Google executives met with officials from the Surgeon
                                                         3   General’s office at least twice during the two weeks after President Biden’s speech.
                                                         4   They also met on September 14, 2021, to discuss “a new policy that [Google was]
                                                         5   working on as well as [to] provide an update on our overall efforts to combat harmful
                                                         6   COVID-19 misinformation on [YouTube].” That “new policy” was the vaccine
                                                         7   misinformation policy that Google has repeatedly used to censor Mr. Kennedy’s
                                                         8   speech about public health matters, and which it announced on or around September
                                                         9   29, 2021. (Exhibit “J”).
                                                        10           36.   YouTube played an especially important role in this censorship project.
                                                        11   Whether it is through advertising, interviews, or raw footage, YouTube provides
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                                                        12   people—especially political candidates—with unfettered access to the American
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                                                        13   public. YouTube is not simply a tool of communication, like a telephone or a social
                                                        14   media app. It is not a publisher like The New York Times or The Wall Street Journal. It
                                                        15   is a place for people to view, to listen, and to learn about whatever they want. For the
                                                        16   most part, they can do that without registering and without paying anything.1 They can
                                                        17   simply log onto the platform and watch. Thus, YouTube is the digital equivalent of
                                                        18   the town square. It is a platform for speech and the second largest search engine on the
                                                        19   Internet.
                                                        20           37.   YouTube may own its website. In that sense, youtube.com is private
                                                        21   property. But, by allowing the public to post videos there, YouTube turned
                                                        22   youtube.com into a public forum. Whether it is a traditional public forum, a limited
                                                        23   public forum or something else does not matter. It cannot exclude people from the
                                                        24   platform based on their viewpoint. It cannot decide which speech people hear. It
                                                        25   cannot do that itself and it especially cannot do that, as it has with Plaintiffs, based on
                                                        26
                                                             1
                                                        27     There are also private areas of YouTube, but the speech Google censored that is at
                                                             issue in this case was available to anybody.
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                                                         1   a public/private partnership in which YouTube relies on the government to decide
                                                         2   what information to censor.
                                                         3         38.    Moreover, although YouTube cites its interest in promoting quality
                                                         4   public health information, that is a public function, something the government does.
                                                         5   Indeed, in Lee v. Katz, 276 F.3d 550, 557 (9th Cir. 2002), the Ninth Circuit found that
                                                         6   “in regulating speech within” a public space, a private party “performs an exclusively
                                                         7   and traditionally public function within a public forum.” So here.
                                                         8         39.    The Fifth Circuit Court of Appeals considered the same issues in its most
                                                         9   recent censorship decision. It focused on “coercion and significant encouragement—
                                                        10   two distinct means of satisfying the close nexus test.” State v. Biden, -- F.4th --, 2023
                                                        11   WL 5821788, at *13 (5th Cir. Sept. 8, 2023) (per curiam) (“Biden”). As to the latter, it
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                                                        12   found “that the clear throughline for encouragement in our caselaw is that there must
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                                                        13   be some exercise of active (not passive), meaningful (impactful enough to render them
                                                        14   responsible) control on the part of the government over the private party’s challenged
                                                        15   decision.” Id. at *14 (original emphasis). That can be demonstrated either by
                                                        16   “entanglement in a party’s independent decision-making” or by “direct involvement in
                                                        17   carrying out the decision itself ….” Id.
                                                        18         40.     The Fifth Circuit concluded in Biden that the executive branch officials’
                                                        19   actions satisfied both the coercion and significant encouragement tests. See id. at *19-
                                                        20   24. As to encouragement, it noted that, especially during 2021 “the officials entangled
                                                        21   themselves in the platforms’ decision-making processes, namely their moderation
                                                        22   policies.” Id. at *23. They “had consistent and consequential interaction with the
                                                        23   platforms and constantly monitored their moderation activities.” Id. They did so not
                                                        24   informally or indirectly but by “repeatedly communicat[ing] their concerns, thoughts,
                                                        25   and desires to the platforms.” Id. Critically, the court noted that “[t]he platforms
                                                        26   responded with cooperation—they invited the officials to meetings, roundups, and
                                                        27   policy discussions. And, more importantly, they complied with the officials’ requests,
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                                                         1   including making changes to their policies.” Id.2
                                                         2           41.   These were not isolated actions. As the Fifth Circuit explained: “By
                                                         3   pushing changes to the platforms’ policies through their expansive relationship with
                                                         4   and informal oversight over the platforms, the officials imparted a lasting influence on
                                                         5   the platforms’ moderation decisions without the need for any further input. In doing
                                                         6   so, the officials ensured that any moderation decisions were not made in accordance
                                                         7   with independent judgments guided by independent standards. Instead, they were
                                                         8   encouraged by the officials’ imposed standards.” Id. at *24 (cleaned up).
                                                         9           42.   So here. Google created YouTube’s vaccine misinformation policy in
                                                        10   response to the government’s demand for it. It communicated with executive branch
                                                        11   officials about the policy. It sought to please the government officials, including the
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                                                        12   Surgeon General and President Biden, by crafting a policy that relies entirely on the
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                                                        13   opinions of government officials to determine what speech about vaccines and other
                                                        14   public health matters gets removed from YouTube. As a result, the government’s
                                                        15   actions have had a lasting influence on the content moderation policies that Google
                                                        16   uses to censor speech on YouTube.
                                                        17           43.   In fact, the new medical misinformation policy that Google unveiled last
                                                        18   month shows the depth of that lasting influence. It is no longer limited to the COVID-
                                                        19   19 emergency, which has ended, but allows Google to censor viewpoints about a host
                                                        20   of topics that the government does not want people to question, including politically
                                                        21   sensitive topics like abortion.
                                                        22           44.   This censorship regime is unprecedented in scope. But the desire to
                                                        23   censor is not new. Martin Luther King, Jr., recognized that. Before he was killed, Dr.
                                                        24   King spoke eloquently about the freedom of speech, saying: “All we say to America is
                                                        25

                                                        26   2
                                                              The Fifth Circuit referred to the technology companies collectively as “the
                                                        27   platforms” but the record shows that they included Google/YouTube as well as
                                                             Facebook/Instagram and Twitter.
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                                                         1   to be true to what you said on paper. If I lived in China or even Russia, or any
                                                         2   totalitarian country, maybe I could understand some of these illegal injunctions.
                                                         3   Maybe I could understand the denial of certain basic First Amendment privileges,
                                                         4   because they haven’t committed themselves to that over there. But somewhere I read
                                                         5   of the freedom of assembly. Somewhere I read of the freedom of speech. Somewhere I
                                                         6   read of the freedom of press. Somewhere I read that the greatness of America is the
                                                         7   right to protest for right. And so just as I say we aren’t going to let any dogs or water
                                                         8   hoses turn us around, we aren’t going to let any injunction turn us around.”
                                                         9         45.    That is why tools like the state action doctrine matter. And that is why
                                                        10   the Ninth Circuit has historically construed the state action doctrine liberally, echoing
                                                        11   Justice William Brennan’s view that, “[i]f the Fourteenth Amendment is to have its
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                                                        12   intended effect as a restraint on the abuse of state power, courts must be sensitive to
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                                                        13   the manner in which state power is exercised. In an era of active government
                                                        14   intervention to remedy social ills, the true character of the State’s involvement in, and
                                                        15   coercive influence over, the activities of private parties, often through complex and
                                                        16   opaque regulatory frameworks, may not always be apparent. But if the task that the
                                                        17   Fourteenth Amendment assigns to the courts is thus rendered more burdensome, the
                                                        18   courts’ obligation to perform that task faithfully, and consistently with the
                                                        19   constitutional purpose, is rendered more, not less, important.”
                                                        20         46.    Those words echo today. This will be the last presidential election before
                                                        21   America’s 250th birthday. Much has changed since 1776. The country’s demand for
                                                        22   freedom of speech—especially political speech—should not be one of them.
                                                        23         47.    Like Justice Brennan and Dr. King, Mr. Kennedy simply asks that this
                                                        24   Court be true to those principles, that it elevate status over form and recognize this
                                                        25   situation for what it really is: the largest state-sponsored censorship of dissent in
                                                        26   American history—something that should not and cannot stand, especially in the
                                                        27   political process.
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                                                         1                               FIRST CLAIM FOR RELIEF
                                                         2    (Declaratory/Injunctive Relief under First Amendment/State Action Doctrine)
                                                         3         48.    Mr. Kennedy incorporates paragraphs 1 through 47 of this Complaint as
                                                         4   though set forth fully herein.
                                                         5         49.    When Mr. Kennedy speaks about the federal government’s COVID-19
                                                         6   policies, as he has in the Manchester speech and in interviews on the campaign trail,
                                                         7   he is speaking about matters of public concern that are protected by the First
                                                         8   Amendment.
                                                         9         50.    Although YouTube is a private (non-governmental) party, it violated Mr.
                                                        10   Kennedy’s First Amendment rights when it removed videos of his political speech, as
                                                        11   alleged above, in several ways.
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                                                        12         51.    First, there is a sufficiently close nexus between YouTube and the federal
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                                                        13   government such that YouTube’s actions may be fairly treated as that of government
                                                        14   itself. For example, although it cited its own COVID vaccine misinformation policies
                                                        15   when censoring Mr. Kennedy, the policies rely entirely on government officials to
                                                        16   decide what information gets censored. They say that YouTube does not allow people
                                                        17   to say anything “that contradicts local health authorities’ (LHA) or the World Health
                                                        18   Organization’s (WHO) medical information about COVID-19.” These policies are
                                                        19   subject to change, but only “in response to changes to global or local health
                                                        20   authorities’ guidance on the virus.” In other words, the government provides the rules
                                                        21   that guide YouTube’s enforcement of the medical misinformation policy.
                                                        22         52.    Second, YouTube’s medical misinformation policies were developed as
                                                        23   part of a joint enterprise between YouTube and federal government officials to
                                                        24   prevent Americans from hearing people like Mr. Kennedy who disagreed with the
                                                        25   government’s policy decisions. YouTube had no obligation to act as the government’s
                                                        26   censor. But, after the creation of CISA and especially after President Biden took
                                                        27   office, YouTube decided to cooperate with the federal government to censor
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                                                         1   dissenting voices about COVID-19. In this way, the federal government insinuated
                                                         2   itself into such a position of interdependence with YouTube that they can be deemed
                                                         3   joint participants in the censorship regime. This partnership consisted of a complex
                                                         4   and deeply intertwined process between the federal government and YouTube—but
                                                         5   led by the government, which plays an outsized role in the decision—about what
                                                         6   information is “dangerous” and which speakers (especially Mr. Kennedy) need to be
                                                         7   silenced. Indeed, Google did not develop the vaccine misinformation policy that it has
                                                         8   used to censor Mr. Kennedy’s speech until government officials began demanding it
                                                         9   in 2021. Moreover, Google/YouTube executives met with government officials to
                                                        10   ensure that YouTube’s vaccine misinformation policy aligned with the executive
                                                        11   branch’s censorship goals. That is why the policy depends entirely on government
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                                                        12   sources to determine what speech gets removed from YouTube. It does not reflect
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                                                        13   Google’s independent thinking but the government’s thinking, and the government’s
                                                        14   thinking alone.
                                                        15         53.   Again, these are not conclusory allegations but facts that have been
                                                        16   revealed in other litigation against Big Tech platforms, including emails from the
                                                        17   spring of 2021 in which Biden White House officials discussed alleged vaccine
                                                        18   misinformation and “ways the White House (and our COVID experts) can partner
                                                        19   [with the tech companies] in product work.” A true and correct copy of one such
                                                        20   email, dated April 16, 2021, and sent by White House staffer Flaherty to Twitter
                                                        21   executives, is attached as Exhibit “K.” As alleged above, within days of sending that
                                                        22   email, Flaherty was also meeting with Google/YouTube executives to
                                                        23   encourage/coerce their vaccine content moderation policies.
                                                        24         54.   That encouragement and coercion has not abated. In fact, emails from the
                                                        25   Missouri v. Biden case show that, even in June 2022, Google executives were
                                                        26   contacting CDC (and likely other executive branch) officials, asking them to tell them
                                                        27   whether certain viewpoints should be censored on YouTube. A true and correct copy
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                                                              FIRST AMENDED COMPLAINT                                            CASE NO. 5:23-cv-03880
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                                                         1   of one such email is attached as Exhibit “L.”
                                                         2           55.   When engaging in this censorship project, Google did not act in good
                                                         3   faith, to promote its own business, but to fulfill the government’s objective of
                                                         4   preventing people from hearing certain information. It will continue to do that.
                                                         5           56.   Indeed, the Fifth Circuit Court of Appeals has already found that the
                                                         6   actions that executive branch officials took with respect to tech platforms like
                                                         7   Google/YouTube satisfy both the coercion and significant encouragement state action
                                                         8   tests because the officials entangled themselves in the platforms’ content moderation
                                                         9   policies in a threatening matter that went far beyond mere advocacy (or, in state action
                                                        10   lingo, attempts to convince).3
                                                        11           57.   Third, the federal government has ensured that YouTube cooperate in its
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                                                        12   censorship campaign by publicly demanding that it do so, by accusing it of killing
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                                                        13   people when it does not cooperate, and by threatening to take away certain legal
                                                        14   protections that YouTube has under federal law (namely immunity under section 230
                                                        15   of the Communications Decency Act). Indeed, YouTube bases its right to censor
                                                        16   people on section 230. Thus, a federal law—section 230—is the very source of
                                                        17   authority through which tech censorship occurs, a situation in which the Supreme
                                                        18   Court has found state action to exist.
                                                        19           58.   Fourth, as the Ninth Circuit found in Lee, when YouTube seeks to
                                                        20   regulate speech on matters of public concern in a public space, and based on guidance
                                                        21   from public health officials, it performs a traditionally public function.
                                                        22           59.   Through this public and private pressure, the federal government has
                                                        23   offered such significant encouragement, both overt and covert, that YouTube’s
                                                        24   decision to censor Mr. Kennedy’s political speech must be deemed to have been made
                                                        25
                                                             3
                                                              The evidence of coercion gathered in Biden focused on Facebook and Twitter, but
                                                        26
                                                             both the district court and the Fifth Circuit seemed to believe that the executive branch
                                                        27   officials treated the large tech platforms the same. Thus, similar evidence of coercion
                                                             will likely be found in this case once discovery starts.
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                                                         1   by the government itself, including Kennedy’s political opponent, President Biden.
                                                         2   Under these circumstances, YouTube is a state actor and it violated Mr. Kennedy’s
                                                         3   First Amendment rights by engaging in viewpoint discrimination, as alleged above.
                                                         4         60.    In addition, at least with respect to the fully public aspects of its platform,
                                                         5   YouTube operates as a public forum, the digital equivalent of a town square. As such,
                                                         6   it cannot remove protected speech, especially political speech, based on its viewpoint.
                                                         7   Furthermore, any viewpoint-neutral rules must be narrowly tailored to leave open
                                                         8   ample alternative channels for communication. YouTube admittedly does not comply
                                                         9   with these rules.
                                                        10         61.    YouTube’s medical misinformation policy also violates the First
                                                        11   Amendment on its face because it is overbroad and vague. The policy gives YouTube
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                                                        12   and its government partners unfettered discretion to decide what information to
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                                                        13   censor, including when they say the speech lacks “context.” Furthermore, the policy,
                                                        14   as amended, prohibits speech about dozens of topics, including cancer and abortion,
                                                        15   while also noting that it “isn't a complete list.” Thus, the policy violates both the
                                                        16   overbreadth and void-for-vagueness doctrines.
                                                        17         62.    Unlike other technology companies, YouTube has refused to remove its
                                                        18   medical misinformation policy and has refused to stop censoring Mr. Kennedy during
                                                        19   his political campaign. Thus, there is a substantial likelihood that it will continue
                                                        20   censoring Mr. Kennedy, preventing his political message from reaching millions of
                                                        21   American voters.
                                                        22         63.    Mr. Kennedy will be irreparably harmed if the Court does not grant
                                                        23   injunctive relief prohibiting YouTube from censoring him during his political
                                                        24   campaign. He brings this action to seek such relief and to prohibit YouTube from
                                                        25   enforcing its unconstitutional medical misinformation policy against him while he is
                                                        26   seeking political office.
                                                        27         64.    Mr. Kennedy contends that YouTube’s medical misinformation policy, as
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                                                         1   amended, is unconstitutional on its face and as applied to his speech (whether posted
                                                         2   by him or by third parties who support him) because the policy is impermissibly
                                                         3   vague and overbroad because it gives unnamed government officials, who the policies
                                                         4   depend entirely on, the unfettered discretion to decide what information gets removed
                                                         5   from YouTube. Furthermore, the policy, as amended, prohibits speech about dozens
                                                         6   of topics, including cancer and abortion, while also noting that it “isn't a complete
                                                         7   list.” Thus, the policy does not give people fair notice of what information may, or
                                                         8   may not be, censored.
                                                         9         65.    On information and belief, Defendants contend that YouTube’s medical
                                                        10   misinformation policy is constitutional on its face and as applied to Mr. Kennedy’s
                                                        11   speech, whether it is posted by him or by third parties who support him.
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                                                        12         66.    Mr. Kennedy desires a judicial declaration that YouTube’s medical
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                                                        13   misinformation policy is unconstitutional on its face and as applied to his speech for
                                                        14   the reasons alleged above.
                                                        15         67.    Under 28 U.S.C. § 2201, a judicial determination of these issues is
                                                        16   necessary and appropriate because such a declaration will clarify the parties’ rights
                                                        17   and obligations, permit them to have certainty regarding those rights and potential
                                                        18   liability, and avoid a multiplicity of actions.
                                                        19                              SECOND CLAIM FOR RELIEF
                                                        20       (Declaratory Relief under Article I, sec. 2 of Cal. Constitution/Pruneyard)
                                                        21         68.    Mr. Kennedy incorporates paragraphs 1 through 47 of this complaint as
                                                        22   though set forth fully herein.
                                                        23         69.    Article I, section 2 of the California Constitution reads: “Every person
                                                        24   may freely speak, write and publish his or her sentiments on all subjects, being
                                                        25   responsible for the abuse of this right. A law may not restrain or abridge liberty of
                                                        26   speech or press.” In Robins v. Pruneyard Shopping Center, 23 Cal.3d 899, 908 (1979),
                                                        27   the California Supreme Court interpreted that language to be broader than the First
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                                                         1   Amendment and it held that the “liberty of speech” in California includes using
                                                         2   private property to communicate that speech when the owner has opened the property
                                                         3   up to such communication.
                                                         4         70.    Defendants are headquartered in California. They adopted their
                                                         5   misinformation policy in California. To the the extent youtube.com is considered
                                                         6   private property, the property is located in California and is open to all Californians
                                                         7   (indeed all people, period) to engage in speech, including Kennedy’s California based
                                                         8   supporters. Thus, youtube.com is equivalent to the large shopping centers that are
                                                         9   subject to the broader speech protections afforded by Article I, section 2 of the
                                                        10   California Constitution, and the California Supreme Court’s decision in Pruneyard (as
                                                        11   well as its progeny).
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                                                        12         71.    Mr. Kennedy contends that YouTube’s medical misinformation policy
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                                                        13   violates Article I, section 2 of the California Constitution, as interpreted by the
                                                        14   California Supreme Court in Pruneyard and its progeny, because it engages in blatant
                                                        15   viewpoint discrimination without any showing that hosting Kennedy’s speech will
                                                        16   disrupt YouTube’s normal business operations. And, since the medical
                                                        17   misinformation policy discriminates on the basis of viewpoint, it is not the type of
                                                        18   reasonable time, place and manner restriction that California courts have upheld under
                                                        19   Pruneyard.
                                                        20         72.    On information and belief, Defendants contend that YouTube’s medical
                                                        21   misinformation policy does not violate Article I, section 2 of the California
                                                        22   Constitution, or that the constitutional provision does not apply to websites.
                                                        23         73.    Mr. Kennedy desires a judicial declaration that YouTube’s medical
                                                        24   misinformation policy violates Article I, section 2 of the California Constitution.
                                                        25         74.    Under section 1060 of the California Code of Civil Procedure, a judicial
                                                        26   determination of these issues is necessary and appropriate because such a declaration
                                                        27   will clarify the parties’ rights and obligations, permit them to have certainty regarding
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                                                         1   those rights and potential liability, and avoid a multiplicity of actions.
                                                         2                                     PRAYER FOR RELIEF
                                                         3         Wherefore, Mr. Kennedy prays for relief as follows.
                                                         4         1. For an order declaring that Defendants violated Mr. Kennedy’s rights under
                                                         5   the First Amendment when they used information from, and partnered with, federal
                                                         6   government officials, including those who work for Mr. Kennedy’s political opponent,
                                                         7   to censor his political speech.
                                                         8         2. For an order requiring that YouTube restore any videos of Mr. Kennedy’s
                                                         9   political speech that it has removed during the 2024 presidential campaign.
                                                        10         3. For an order declaring YouTube’s medical misinformation policy
                                                        11   unconstitutional on its face, and as applied to Mr. Kennedy during his presidential
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                                                        12   campaign, and for an injunction prohibiting Defendants from further enforcing it.
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                                                        13         4. For an order declaring YouTube’s medical misinformation policy to be
                                                        14   unconstitutional under article I, section 2 of the California Constitution and Pruneyard
                                                        15   and its progeny.
                                                        16         4. For costs and legal fees under 42 U.S.C. § 1988.
                                                        17         5. For such other relief as the Court deems proper.
                                                        18

                                                        19
                                                             DATED: September 12, 2023              JW HOWARD/ATTORNEYS, LTD.

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                                                        21

                                                        22                                          By: /s/ Scott J. Street
                                                        23                                              John W. Howard
                                                                                                        Scott J. Street
                                                        24
                                                                                                        Andrew G. Nagurney
                                                        25                                              Attorneys for Plaintiff
                                                                                                        ROBERT F. KENNEDY, JR.
                                                        26

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                                                         1                                JURY TRIAL DEMAND
                                                         2        Mr. Kennedy requests a trial by jury on all claims for which it is available.
                                                         3

                                                         4
                                                             DATED: September 12, 2023           JW HOWARD/ATTORNEYS, LTD.

                                                         5

                                                         6

                                                         7                                       By:           /s/ Scott J. Street
                                                         8                                              John W. Howard
                                                                                                        Scott J. Street
                                                         9
                                                                                                        Andrew G. Nagurney
                                                        10                                              Attorneys for Plaintiff,
                                                                                                        ROBERT F. KENNEDY, JR.
                                                        11
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                     EXHIBIT $
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      COVID-19 medical misinformation policy
              The safety of our creators, viewers, and partners is our highest priority. We look to each of you to help us
              protect this unique and vibrant community. It’s important you understand our Community Guidelines, and
              the role they play in our shared responsibility to keep YouTube safe. Take the time to carefully read the
              policy below. You can also check out this page for a full list of our guidelines.


      YouTube doesn't allow content about COVID-19 that poses a serious risk of egregious harm.

      YouTube doesn't allow content that spreads medical misinformation that contradicts local health
      authorities’ (LHA) or the World Health Organization’s (WHO) medical information about COVID-19. This
      is limited to content that contradicts WHO or local health authorities’ guidance on:

      • Treatment
      • Prevention
      • Diagnosis
      • Transmission
      • The existence of COVID-19

      Note: YouTube’s policies on COVID-19 are subject to change in response to changes to global or local
      health authorities’ guidance on the virus. There may be a delay between new LHA/WHO guidance and
      policy updates given the frequency with which this guidance changes, and our policies may not cover
      all LHA/WHO guidance related to COVID-19.

      Our COVID-19 policies were first published on May 20, 2020.


      What this policy means for you

      If you're posting content
      Don’t post content on YouTube if it includes any of the following:

      Treatment misinformation:

      • Content that encourages the use of home remedies, prayer, or rituals in place of medical treatment
        such as consulting a doctor or going to the hospital
      • Content that claims that there’s a guaranteed cure for COVID-19
      • Content that recommends use of Ivermectin or Hydroxychloroquine for the treatment of COVID-19
      • Claims that Hydroxychloroquine is an effective treatment for COVID-19
      • Categorical claims that Ivermectin is an effective treatment for COVID-19
      • Claims that Ivermectin and Hydroxychloroquine are safe to use in the prevention of COVID-19
      • Other content that discourages people from consulting a medical professional or seeking medical
        advice

      Prevention misinformation: Content that promotes prevention methods that contradict local health
      authorities or WHO.

      • Claims that there is a guaranteed prevention method for COVID-19
         • Claims that any medication or vaccination is a guaranteed prevention method for COVID-19
      • Content that recommends use of Ivermectin or Hydroxychloroquine for the prevention of COVID-19
      • Claims that Ivermectin and Hydroxychloroquine are safe to use in the prevention of COVID-19
      • Claims about COVID-19 vaccinations that contradict expert consensus from local health authorities
        or WHO



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         • Claims that an approved COVID-19 vaccine will cause death, infertility, miscarriage, autism, or
           contraction of other infectious diseases
         • Claims that an approved COVID-19 vaccine will contain substances that are not on the vaccine
           ingredient list, such as biological matter from fetuses (e.g. fetal tissue, fetal cell lines) or animal
           products
         • Claims that an approved COVID-19 vaccine will contain substances or devices meant to track or
           identify those who’ve received it
         • Claims that COVID-19 vaccines will make people who receive them magnetic
         • Claims that an approved COVID-19 vaccine will alter a person’s genetic makeup
         • Claims that COVID-19 vaccines do not reduce risk of serious illness or death
         • Claims that any vaccine causes contraction of COVID-19
         • Claims that a specific population will be required (by any entity except for a government) to take
           part in vaccine trials or receive the vaccine first
         • Content that promotes the use of unapproved or homemade COVID-19 vaccines
         • Instructions to counterfeit vaccine certificates, or offers of sale for such documents

      Diagnostic misinformation: Content that promotes diagnostic information that contradicts local
      health authorities or WHO.

      • Claims that approved COVID-19 tests are dangerous or cause negative physical health effects
      • Claims that approved COVID-19 tests cannot diagnose COVID-19

      Transmission misinformation: Content that promotes transmission information that contradicts local
      health authorities or WHO.

      • Content that claims that COVID-19 is not caused by a viral infection
      • Content that claims COVID-19 is not contagious
      • Content that claims that COVID-19 cannot spread in certain climates or geographies
      • Content that claims that any group or individual has immunity to the virus or cannot transmit the
        virus

      Content that denies the existence of COVID-19:

      • Denial that COVID-19 exists
      • Claims that people have not died or gotten sick from COVID-19
      • Claims that the death rate of COVID-19 is equal to or less than that of the common cold or seasonal
        flu
      • Claims that COVID-19 is equal to or less transmissible than the common cold or seasonal flu
      • Claims that the symptoms of COVID-19 are never severe

      This policy applies to videos, video descriptions, comments, live streams, and any other YouTube
      product or feature. Keep in mind that this isn't a complete list. Please note these policies also apply to
      external links in your content. This can include clickable URLs, verbally directing users to other sites in
      video, as well as other forms.


      Examples
      Here are some examples of content that’s not allowed on YouTube:

      • Denial that COVID-19 exists
      • Claims that people have not died from COVID-19
      • Claims that any vaccine is a guaranteed prevention method for COVID-19
      • Claims that a specific treatment or medicine is a guaranteed cure for COVID-19
      • Claims that hydroxychloroquine saves people from COVID-19
      • Promotion of MMS (Miracle Mineral Solution) for the treatment of COVID-19

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      • Claims that certain people have immunity to COVID-19 due to their race or nationality
      • Encouraging taking home remedies instead of getting medical treatment when sick
      • Discouraging people from consulting a medical professional if they’re sick
      • Content that claims that holding your breath can be used as a diagnostic test for COVID-19
      • Videos alleging that if you avoid Asian food, you won’t get the coronavirus
      • Videos alleging that setting off fireworks can clean the air of the virus and will prevent the spread of
        the virus
      • Claims that COVID-19 is caused by radiation from 5G networks
      • Videos alleging that the COVID-19 test is the cause of the virus
      • Claims that countries with hot climates will not experience the spread of the virus
      • Claims that COVID-19 vaccines kill people who receive them
      • Claims that COVID-19 vaccines are a means of population reduction
      • Videos claiming that COVID-19 vaccines contain fetal tissue
      • Claims that the flu vaccine causes contraction of COVID-19
      • Claims that the flu is more contagious than COVID-19
      • Claims that COVID-19 vaccines cause contraction of other infectious diseases or makes people
        more vulnerable to contraction of other infectious diseases
      • Claims that COVID-19 vaccines contain a microchip or tracking device
      • Claims that achieving herd immunity through natural infection is safer than vaccinating the
        population
      • Claims that COVID-19 never causes serious symptoms or hospitalization
      • Claims that the death rate from the seasonal flu is higher than the death rate of COVID-19
      • Claims that people are immune to the virus based on their race
      • Claims that children cannot or do not contract COVID-19
      • Claims that there have not been cases or deaths in countries where cases or deaths have been
        confirmed by local health authorities or the WHO


      Educational, documentary, scientic or aistic content
      We may allow content that violates the misinformation policies noted on this page if that content
      includes additional context in the video, audio, title, or description. This is not a pass to promote
      misinformation. Additional context may include countervailing views from local health authorities or
      medical experts. We may also make exceptions if the purpose of the content is to condemn, dispute,
      or satirize misinformation that violates our policies. We may also make exceptions for content showing
      an open public forum, like a protest or public hearing, provided the content does not aim to promote
      misinformation that violates our policies.


      What happens if content violates this policy
      If your content violates this policy, we’ll remove the content and send you an email to let you know. If
      we can’t verify that a link you post is safe, we may remove the link.

      If this is your first time violating our Community Guidelines, you’ll likely get a warning with no penalty
      to your channel. If it’s not, we may issue a strike against your channel. If you get 3 strikes within 90
      days, your channel will be terminated. You can learn more about our strikes system here.

      We may terminate your channel or account for repeated violations of the Community Guidelines or
      Terms of Service. We may also terminate your channel or account after a single case of severe abuse,
      or when the channel is dedicated to a policy violation. You can learn more about channel or account
      terminations here.




https://support.google.com/youtube/answer/9891785?hl=en&ref_topic=10833358&sjid=9626164814483180343-NA             3/4
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                                                Need more help?
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          Get answers from community members




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                             a
      YouTube doesn’t allow content that poses a serious risk of egregious harm by spreading medical
      misinformation about currently administered vaccines that are approved and confirmed to be safe and
      effective by local health authorities and by the World Health Organization (WHO). This is limited to
      content that contradicts local health authorities’ or the WHO’s guidance on vaccine safety, efficacy,
      and ingredients.


      What this policy means for you

      If you're posting content
      Don’t post content on YouTube if it includes harmful misinformation about currently approved and
      administered vaccines on any of the following:

      • Vaccine safety: content alleging that vaccines cause chronic side effects, outside of rare side
        effects that are recognized by health authorities

      • Efficacy of vaccines: content claiming that vaccines do not reduce transmission or contraction of
        diseaseö

      • Ingredients in vaccines: content misrepresenting the substances contained in vaccines

      This policy applies to videos, video descriptions, comments, live streams, and any other YouTube
      product or feature. Keep in mind that this isn't a complete list. Please note these policies also apply to
      external links in your content. This can include clickable URLs, verbally directing users to other sites in
      video, as well as other forms.ö


      Examples
      Here are some examples of content that’s not allowed on YouTube:

      • Claims that vaccines cause chronic side effects such as:
         • Cancer
         • Diabetes
         • Other chronic side effects
      • Claims that vaccines do not reduce risk of contracting illness
      • Claims that vaccines contain substances that are not on the vaccine ingredient list, such as
        biological matter from fetuses (e.g. fetal tissue, fetal cell lines) or animal byproducts
      • Claims that vaccines contain substances or devices meant to track or identify those who’ve
        received them
      • Claims that vaccines alter a person’s genetic makeup
      • Claims that the MMR vaccine causes autism
      • Claims that vaccines are part of a depopulation agenda
https://support.google.com/youtube/answer/11161123?hl=en&ref_topic=10833358&sjid=9626164814483180343-NA             1/3
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      • Claims that the flu vaccine causes chronic side effects such as infertility
      • Claims that the HPV vaccine causes chronic side effects such as paralysis


      Educational, scientic, aistic, or testimonial content
      YouTube may allow content that violates the misinformation policies noted on this page if that content
      includes additional context in the video, audio, title, or description. This is not a pass to promote
      misinformation. Additional context may include countervailing views from local health authorities or
      medical experts. We may also make exceptions if the purpose of the content is to condemn, dispute,
      or satirize misinformation that violates our policies. We may also make exceptions for content showing
      an open public forum, like a protest or public hearing, provided the content does not aim to promote
      misinformation that violates our policies.ö


      YouTube also believes people should be able to share their own experiences, including personal
      experiences with vaccinations. This means we may make exceptions for content in which creators
      describe firsthand experiences from themselves or their family. At the same time, we recognize there
      is a difference between sharing personal experiences and promoting misinformation about vaccines.
      To address this balance, we will still remove content or channels if they include other policy violations
      or demonstrate a pattern of promoting vaccine misinformation.


      What happens if content violates this policy
      If your content violates this policy, we’ll remove the content and send you an email to let you know. If
      we can’t verify that a link you post is safe, we may remove the link.

      If this is your first time violating our Community Guidelines, you’ll likely get a warning with no penalty
      to your channel. If it’s not, we may issue a strike against your channel. If you get 3 strikes within 90
      days, your channel will be terminated. You can learn more about our strikes system here.

      We may terminate your channel or account for repeated violations of the Community Guidelines or
      Terms of Service. We may also terminate your channel or account after a single case of severe abuse,
      or when the channel is dedicated to a policy violation. You can learn more about channel or account
      terminations here.


      Additional resources
      More information on vaccines, including their safety and efficacy, can be found below.

      Health Authority Vaccine Information:

      • Centers for Disease Control and Prevention (CDC)          (US)
      • European Vaccination Information Portal       (EU)ö
      • National Health Service      (UK)
      • World Health Organization vaccine safety       (Global)
      • World Health Organization vaccine preventable diseases           (Global)

      Additional Vaccine Information:

      • American Academy of Pediatrics        (US)
      • GAVI, the Vaccine Alliance     (Global)
      • UNICEF      (Global)


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                                                 Need more help?
                                                 Try these next steps:



          Post to the help community
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      Medical misinformation policy
      YouTube doesn't allow content that poses a serious risk of egregious harm by spreading medical
      misinformation that contradicts local health authorities’ (LHAs) or the World Health Organization’s
      (WHO) guidance about specific health conditions and substances. This policy includes the following
      categories:

      • Prevention misinformation
      • Treatment misinformation
      • Denial misinformation

      Note: YouTube’s medical misinformation policies are subject to change in response to changes to
      guidance from health authorities or WHO. There may be a delay between new LHAs/WHO guidance
      and policy updates, and our policies may not cover all LHA/WHO guidance related to specific health
      conditions and substances.


      What this
      What this policy
                policy means for you
                       means for you
      Don’t post content on YouTube if it includes any of the following:

      Prevention misinformation: We do not allow content that promotes information that contradicts
      health authority guidance on the prevention or transmission of specific health conditions, or on the
      safety, efficacy or ingredients of currently approved and administered vaccines.

      Treatment misinformation: We do not allow content that promotes information that contradicts
      health authority guidance on treatments for specific health conditions, including promotion of specific
      harmful substances or practices that have not been approved by local health authorities or the World
      Health Organization as safe or effective, or that have been confirmed to cause severe harm.

      Denial misinformation: We do not allow content that denies the existence of specific health
      conditions.

      These policies apply to videos, video descriptions, comments, live streams, and any other YouTube
      product or feature. Keep in mind that this isn't a complete list. Please note these policies also apply to
      external links in your content. This can include clickable URLs, verbally directing users to other sites in
      video, as well as other forms.


      Examples
      Examples
      Here are some examples of content that’s not allowed on YouTube. This isn't a complete list.

      Prevention
      Prevention misinformation
                 misinformation

      Harmful substances & practices as prevention methods

         • Promotion of the following substances and treatments that present an inherent risk of severe
           bodily harm or death:
           • Miracle Mineral Solution (MMS)
           • Black Salve
           • Turpentine
           • B17/amygdalin/peach or apricot seeds
           • High-grade hydrogen peroxide
           • Chelation therapy to treat autism
           • Colloidal silver
           • Ozone therapy

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           • Gasoline, diesel and kerosene
         • Content that promotes use of Ivermectin or Hydroxychloroquine for the prevention of COVID-19.


      Guaranteed prevention misinformation

         • Claims that there is a guaranteed prevention method for COVID-19.
         • Claims that any medication or vaccination is a guaranteed prevention method for COVID-19.


      Vaccine misinformation

         • Claims that contradict health authority and World Health Organization guidance on safety,
           efficacy and ingredients of currently administered and approved vaccines.
           • Vaccine safety: Content alleging that vaccines cause chronic side effects, such as cancer or
             paralysis, outside of rare side effects that are recognized by health authorities.
              • Examples:
                  • Claims that the MMR vaccine causes autism.
                  • Claims that any vaccine causes contraction of COVID-19.
                  • Claims that vaccines are part of a depopulation agenda.
                  • Claims that the flu vaccine causes chronic side effects such as infertility, or causes
                    contraction of COVID-19.
                  • Claims that the HPV vaccine causes chronic side effects such as paralysis.
                  • Claims that an approved COVID-19 vaccine will cause death, infertility, miscarriage,
                    autism, or contraction of other infectious diseases.
                  • Claims that achieving herd immunity through natural infection is safer than vaccinating
                    the population.
                  • Content that promotes the use of unapproved or homemade COVID-19 vaccines.
           • Vaccine efficacy: Content claiming that vaccines do not reduce transmission or contraction
             of disease.
              • Examples:
                  • Claims that vaccines do not reduce risk of contracting illness.
                  • Claims that vaccines do not reduce the severity of illness, including hospitalization or
                    death.
                  • Claims that any vaccine is a guaranteed prevention method for COVID-19.
           • Ingredients in vaccines: Content misrepresenting the ingredients contained in vaccines.
              • Examples:
                  • Claims that vaccines contain substances that are not on the vaccine ingredient list, such
                    as biological matter from fetuses (e.g. fetal tissue, fetal cell lines) or animal byproducts.
                  • Claims that vaccines contain substances or devices meant to track or identify those
                    who’ve received them.
                  • Claims that vaccines alter a person’s genetic makeup.
                  • Claims that vaccines will make people who receive them magnetic.

         Additional resources

         More information on vaccines, including their safety and efficacy, can be found below.

         Health authority vaccine information:

         • Centers for Disease Control and Prevention (CDC) (US)
         • European Vaccination Information Portal (EU)
         • National Health Service (UK)


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         • Korea Disease Control and Prevention Agency (Korea)
         • National Health Mission (India)
         • MHLW Immunization Information (Japan)
         • National Vaccination Calendar (Brazil)
         • Universal Vaccination Program (Mexico)
         • World Health Organization vaccine safety (Global)
         • World Health Organization vaccine preventable diseases (Global)

         Additional vaccine information:

         • American Academy of Pediatrics (US)
         • GAVI, the Vaccine Alliance (Global)
         • UNICEF (Global)


      Transmission information

         • Content that promotes transmission information that contradicts local health authorities or the
           World Health Organization.
           • Content that claims that COVID-19 is not caused by a viral infection.
           • Claims that COVID-19 is caused by radiation from 5G networks.
           • Content that claims COVID-19 is not contagious.
           • Content that claims that COVID-19 cannot spread in certain climates or geographies.
           • Content that claims that any group or individual has immunity to the virus or cannot transmit
             the virus.



      Treatment misinformation
      Treatment misinformation

      Harmful substances & practices as treatment methods

         • Promotion of the following substances and treatments that present an inherent risk of severe
           bodily harm or death.
           • Miracle Mineral Solution (MMS)
           • Black salve
           • Turpentine
           • B17/amygdalin/peach or apricot seeds
           • High-grade hydrogen peroxide
           • Chelation therapy to treat autism
           • Colloidal silver
           • Ozone therapy
           • Gasoline, diesel and kerosene
         • Content that recommends the use of specific methods for the treatment of cancer when those
           have not been approved by local health authorities or the World Health Organization as safe or
           effective or have been confirmed to be harmful or ineffective for cancer treatment.
           • Examples:
              • Content that promotes the use of the following methods for the treatment of cancer,
                  outside of clinical trials:
                  • Caesium chloride (cesium salts)
                  • Hoxsey therapy
                  • Coffee enema
                  • Gerson therapy

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              • Content that claims that the following methods are safe or effective for the treatment of
                cancer, outside of clinical trials:
                  • Antineoplaston therapy
                  • Quercetin (intravenous injection)
                  • Methadone
                  • Over-the-counter chelation therapy
         • Content that promotes use of Ivermectin or Hydroxychloroquine for the treatment of COVID-19.


      Guaranteed treatment misinformation

         • Content that claims that there is a guaranteed cure for cancer outside of approved treatment.
         • Content that claims that there is a guaranteed cure for COVID-19.


      Harmful alternative methods & discouragement of professional treatment

         • Content that claims that approved treatments for cancer are never effective.
           • Examples:
              • Content that claims that approved treatments for cancer, such as chemotherapy or
                radiation, are never effective.
              • Content that discourages people from seeking approved treatments for cancer.
         • Claims that alternative treatments are safer or more effective than approved treatments for
           cancer.
           • Content that claims that juicing has better results than chemotherapy in treating cancer.
         • Content that recommends alternative treatments in place of approved treatments for cancer.
           • Content that promotes diet and exercise instead of seeking approved treatment for cancer.
         • Discouraging people from consulting a medical professional or seeking medical advice if
           they’re sick with COVID-19.
         • Content that encourages the use of home remedies, prayer, or rituals in place of medical
           treatment for COVID-19 such as consulting a doctor or going to the hospital.
         • Content that contradicts local health authorities’ or the World Health Organization’s guidance
           on the safety of chemical and surgical abortion:
           • Claims that abortion causes breast cancer.
           • Claims that abortion commonly results in or carries a high risk of infertility or future
             miscarriage.
         • Promotion of alternative abortion methods in place of chemical or surgical methods deemed
           safe by health authorities.
         • Promotion of alternative formulas for infants in place of breast milk or commercial formula.



      Denial
      Denial misinformation
             misinformation

      • Content that denies the existence of COVID-19 or that people have died from COVID-19.
         • Examples:
           • Denial that COVID-19 exists
           • Claims that people have not died or gotten sick from COVID-19
           • Claims that there have not been cases or deaths in countries where cases or deaths have been
             confirmed by local health authorities or the WHO


      Educational,
      Educational, documentary, scientific or
                   documentary, scientific    artistic content
                                           or artistic content

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      We may allow content that violates the misinformation policies noted on this page if that content
      includes additional context in the video, audio, title, or description. This is not a pass to promote
      misinformation. Additional context may include countervailing views from local health authorities or
      medical experts. We may also make exceptions if the purpose of the content is to condemn, dispute,
      or satirize misinformation that violates our policies. We may also make exceptions for content
      discussing the results of a specific medical study, or showing an open public forum, like a protest or
      public hearing, provided the content does not aim to promote misinformation that violates our policies.

      YouTube also believes people should be able to share their own experiences, including personal
      experiences with vaccinations, for example. This means we may make exceptions for content in which
      creators describe firsthand experiences from themselves or their family. At the same time, we
      recognize there is a difference between sharing personal experiences and promoting misinformation.
      To address this balance, we will still remove content or channels if they include other policy violations
      or demonstrate a pattern of promoting medical misinformation.


      What happens
      What         if content
           happens if content violates
                              violates this
                                       this policy
                                            policy
      If your content violates this policy, we’ll remove the content and send you an email to let you know. If
      we can’t verify that a link you post is safe, we may remove the link.

      If this is your first time violating our Community Guidelines, you’ll likely get a warning with no penalty
      to your channel. If it’s not, we may issue a strike against your channel. If you get 3 strikes within 90
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      or when the channel is dedicated to a policy violation. You can learn more about channel or account
      terminations here.




                                                  Need more help?
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From :                                  twitter.com]
Sent :         1/23/20211 :08 :36 AM
To:            Humphrey, ClarkeEOP/WHO                             who .eop .gov)
CC:                                    twitter .com); Fl a herty, Robert EOP /WHO   who .eop .gov)
Subject :      [EXTERNAL) Re: Flagging Hank Aaron mi sinfo



Thanks. We recently escalated this.

On Fri, Jan 22, 2021 at 8:0 P          Humphrey, Clarke EOP/WHO
 Hey folks -

 Wru1ted to flag the below tweet 811d am wondering if we c811 get moving on the proce s for having it removed
      AP :

 >https://twitter.com/RobertKennedyJr/s tatus/13527 48139665645569<

 And then if we can keep an eye out for tweets that fall in this same ~genre that would be great.

 Thanks !
 Clarke



T1Mtter, Inc. I Public Policy
@TwitterGov & @Policy




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                                              9303


From :


Sent:
To:
                                                                                                      googl e.com;.
                                        goog .com]
CC:            Slavitt,Andrew M. EOP/WHO                         who.eop .gov]; H ~ W H O
                                   who.eop.gov]; Fitzpatrick, KelseyV. EOP/WHO ~ w h o . e o p . g o v ]
Subject :      Followi ng Up on Today's Conversation



All-Thanks again for the conve rsation today.

We' II look out for the top t rends that you've seen in terms of mi si nformati on around the vaccine .

To recap: As we move away from a supply problem toward a demand problem, we remain concerned thatYoutube is
"funnel i ng" people into hesitance and intensifying people's hesitancy. We certainly recognize that removi ngcontent
that is unfavorable to the cause of increasingvacci ne adoption is not a real istic-or even good- solution. But we want
to be sure that you have a hand le on vaccine hesitancy generally and are working toward making the problem better.
This is a concern that is shared at t he highest(and I mean highest) levels of the WH, so we'd like to continue a good-faith
dialogue about what is going on underthe hood here . I'm the on the hook for reporting out.

Just before we we re meeting, this article from Buzzfeed popped, highlighting the Youtube misinformation that is
sp reading through the Vietnamese community. I think this brings up a question that I had in our first meeti ngaboutyour
capabilities around misinformation i n non-english-speaking communities. Clearly, more work to be done here . Would
love to get some insights from you on how you are tack I ingthis problem across al I languages -how your enforcement
has differed in languagesandwhatyourroad map to im provement is.

A couple ofotherth i ngs it would be good to have from you all:
•        As mentioned up top, t he top trends that you' re seeing in terms of misinformation/hesitance inducing content
(Stanford has mentioned t hat it's recently Vaccine Passports and J&J pause-related stuff, but I'm not sure if that reflects
what you're seei ng)
•        A deeper dive on reduction and its effectiveness. It's helpful that you mentioned that watch time is your key
metric. I be lieve you said you reduced watch time by 70% on "borderline" content, wh ich is impressive. Obviously, the
term "borderline" is moveable, but taking it for what it is: How does that track with vaccine-related content specifically
(removingthe "UFO stuff"). What has the comparative reduction in watch ti me on "borderline"vaccine top ics been
after your interventions? And what has the increase in watch time been on authoritative information?
•        I app reciated yourunequivocal response that you are not recommending anti -vacci ne content and you are
lifting authoritative i nformation in both search and recommendations to al I audiences. Related to the second bullet: to
what extent have you r ran king i nterventions been effective there? And, perhaps more critically, to what degree is
content from people who have been given a "strike" sti ll being recommended and shown in prominent search
positions?
•        I feel like I am not coming away with a very clear picture of how you're measuring the effectiveness of up lifting
authoritative information. I obviously buy the theory-but how did you arrive on info-pane Is as the best intervention?
And to what extent are people clicki ng through afterexposuretovacci ne-hesitant content? What are you doing
mechanically to boost the authoritativei nformati on? When you have relevant influencers speak to experts, I imagine
(hope?) it's not just putting the content out there and that you're recommending it to people for whom it would be
most re levant. How does t hat work?
•        What are the general vectors by w hich peop le see the "borderline" content-or rea lly just vaccine-skeptical
content? Is it largely through recommendations? Search?

We are excited toconti nuingpartneringwithyou on this work as we have via                       but we want to make
su re that the work extends to the broader prob lem. Needless to say, in a couple of weeks when we' re having trouble




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getting people to get vaccinated, we'll be in the barrel together here. We've worked with a number of platform partners
to t rack down similar information based on internal data, including partners of similarscale. I am feeling a bit like I don't
have a ful I sense of the picture here. We speak with other platforms on a semi-regular basis. We'd love to get in this
habit with you. Perhaps bi-weekly?

Looking forward to more conversation.

-Rob

Rob Flaherty
Director of Digi tal Strategy
The White House
Cell




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From:          Crawford, Carol Y. (COC/00/0AOC)

Sent:          S/11/20213:55 :11 PM
To:            Jan Antonaros           @google.com);Kevin Kane
Subject:       RE: COVIO 19 BOLD Meeting



Great- I was going to ask about Kevin at 4. ©



From: Jan Antonaros~@google.com>
Sent: Tuesday, May 11, 2021 3:51 PM
To: Crawfo,rd, carol Y.(CDC/OD/OADC)-@cdc.gov>; Kevin Kane-@googte.com>
Subject: Re: COVID 19 BOLO Meeting

Hi Carol, Could you please add +Kevin Kane from ourYouTube team to the cal I below? Thank you I


Jan FowlerAntonaros
GoogleGovernmentAffairsand Public Policy
25 Mass Ave NW, 9th FL
Washington, DC20001
          @google.com
Android M o b i l e ~


On Tue, May 11, 2021 at 3:25 PM Crawford, Carol Y. (CDC/O0/OADC)~>wrote:
 We would like to invite digital platforms to attend a short "Be On The Lookout" meeting on COVID. Let us know if you
 have questions and feel free to forward this message to anyone in your organization that should attend.


 Thank you.


 Carol Crawford
 Chief, Digital Media Branch
 Division of Public Affairs
 OADC
           1@cdc.gov




 Join ZoomGov Meeting




 Dial by your location




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         OSG. Subject to and without waiving any of the foregoing objections, and based on a

  reasonable inquiry under the circumstances of abbreviated, expedited discovery, OSG responds

  that the following meetings took place with the Social-Media Platforms relating to

  Misinformation:

            On May 25, 2021, from 4:30 to 5:00 pm ET, Dr. Vivek Murthy from OSG and Andy

             Slavitt from the White House met remotely with Nick Clegg from Facebook. The

             purpose of the call was to introduce Dr. Murthy to Mr. Clegg. Misinformation may

             have been discussed.

            On July 12, 2021, from 3:00 pm to 3:30 pm ET, Eric Waldo from OSG met remotely

             with Lauren Culberton and Todd Boyle from Twitter. Kyla Fullenwider from U.S.

             Digital Response was invited and may have also attended. The meeting provided notice

             of the upcoming OSG Advisory and a high-level view of what issues OSG would be

             prioritizing in the Advisory.

            On July 14, 2021, from 3:00 pm to 3:30 pm ET, Eric Waldo from OSG met remotely

             with Kevin Kane from YouTube, Jan Antonaros from Google, and Ariel Altman from

             YouTube. The meeting provided notice of the upcoming OSG Advisory and a high-

             level view of what issues OSG would be prioritizing in the Advisory.

            On July 16, 2021, from 3:00 pm to 3:30 pm ET, Eric Waldo from OSG and Kyla

             Fullenwider from U.S. Digital Response met remotely with Payton Iheme and Justine

             Isola from Facebook. Kate Thornton and Brian Rice from Facebook were invited and

             may have also attended. The meeting discussed the newly issued OSG Advisory.

            On July 23, 2021, from 1:30 pm to 2:00 pm ET, Dr. Vivek Murthy and Eric Waldo

             from OSG, and D.J. Patil (who OSG understands to be a then part-time consultant

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           supporting the Office of Science Technology and Policy) met remotely with Nick

           Clegg and (very likely) Brian Rice from Facebook. The meeting discussed a recent e-

           mail from Mr. Clegg to Dr. Murthy concerning recent public comments by the

           Administration about Facebook.

          On July 30, 2021, from 2:00 pm to 2:30 pm ET, Eric Waldo from OSG met with Kevin

           Kane from YouTube, Lauren Kelly from Google, and Jan Antonaros from Google. The

           topics discussed included YouTube/Google following up on the announcement of the

           OSG Advisory to share more of the work it was doing around health mis- and

           disinformation.

          As indicated by MOLA_DEFSPROD_00007276, on August 10, 2021, there was a call

           between Eric Waldo from OSG, Robert Flaherty from EOP, and personnel from

           Facebook that discussed, as stated in the document, “an operation [Facebook]

           uncovered that is related to vaccine misinformation.”

          As indicated by MOLA_DEFSPROD_00007455, on or about September 14, 2021,

           there was a call between Eric Waldo from OSG and Kevin Kane and Jan Antonaros

           from Google/YouTube. As stated in the document, the purpose was “a brief meeting to

           discuss a new policy we are working on as well as provide an update on our overall

           efforts to combat harmful COVID-19 misinformation on the platform.”

          As indicated by MOLA_DEFSPROD_00007398, on November 22, 2021, from 4:00 to

           4:30 pm ET, there was a virtual meeting attended by Tericka Lambert, other ASPA

           personnel, personnel from Fors Marsh Group (a contractor for ASPA), personnel from

           OSG, and Google/YouTube personnel. This meeting briefly touched on

           misinformation among other topics.



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  The above list reflects OSG’s identification to date, based on reasonably diligent efforts, of

  meetings that took place with the Social-Media Platforms relating to Misinformation and the

  included participants. OSG is not aware of specific additional meetings with the Social-Media

  Platforms relating to Misinformation, but it is possible that the above list is not exhaustive.



         NIAID. Subject to and without waiving any of the foregoing objections, and based on a

  reasonable inquiry under the circumstances of abbreviated, expedited discovery, NIAID responds

  that no meetings took place with the Social-Media Platforms relating to Misinformation. NIAID

  has identified two possible meetings to discuss the potential participation by the NIAID director

  in U.S. Government efforts to publicize health information and provide COVID-19 and vaccine

  education via social media, which are not responsive to the Interrogatory, but are identified in the

  documents being produced in response to Plaintiffs’ First Requests For Production to Defendants:

            Facebook approached NIAID in March 2020 to discuss public service announcements

             and ads, Facebook’s CV19 hub, and an interview between Dr. Fauci and Mark

             Zuckerberg; NIAID scheduled the interview between Dr. Fauci and Mr. Zuckerberg

             (which aired on Facebook Live)

            NIAID was invited to, but did not attend, a meeting scheduled for March 4, 2021, to

             discuss possible Facebook Live interviews with celebrities/influencers related to

             COVID-19 vaccines

         Further, in accordance with the Court’s September 6, 2022 Order, subject to and without

  waiving any of the foregoing objections, and based on a reasonable inquiry under the

  circumstances of abbreviated, expedited discovery, including consultation with Dr. Fauci and

  review of Dr. Fauci and NIAID staff e-mail records, NIAID responds on behalf of Dr. Fauci in his

  role as Director of NIAID as follows: NIAID has not identified any communications, written or

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                                        VERIFICATION

        I, Max Lesko, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury that the

 interrogatory response of the Office of the Surgeon General to Plaintiffs’ First Set of Expedited

 Preliminary-Injunction Related Interrogatories dated July 18, 2022, Common Interrogatories

 Numbers 1-5 and Additional Interrogatories Numbers 1-3, contained in the Responses of the

 Office of the Surgeon General, is true and correct, to the best of my knowledge.

                   16
 Dated: 'HFHPEHU BBBBBB, 2022
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                                                     ________________________
                                                         _______________
                                                     Max Lesko
                                                     Chief of Staff
                                                     Office of the Surgeon General
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From:        Kevin Ka n
Sent:        7 /9/2021 12:36:4 7 PM
To:          Waldo,Eric (HHS/OASH)
CC:                                  yla Fullenwide
Subject:     Re: Connecting with Dr. Murthy's office



Thank you! Look forward to speaking with you then
Best,
Kevin

On Fri, Jul 9, 2021 at 1028 AM Waldo, Eric (lffiS/OASH)                              wrote:
 Sorry about that! Moving too fast. Will update.


 From: Kevin Kane
 Sent: Friday, July 9, 2021 9:28 AM
 To: Waldo, Eric (HHS/OASH)
 Cc:                          Kyla Fullenwider
 Subject: Re: Connecting with Dr. Murthy's office


 Thanks Eric -


 The invite you sent was for 3:30-4 :15, and unfortunately some of my colleagues won't be able to make it then.
 Any chance we could meet 300-3:30 (ET) on the 14th?


 Thanks again, and hope you have a good weekend !


 Kevin


 On Thu, Jul 8 , 2021 at 5:30 PM Waldo, Eric (HHS/OASI-1)                             wrote:
  Great Just send you a worn!


  From: Kevin Kane
  Sent: Thursday, July 8, 2021 8:35 AM
  To: Waldo, Eric (HHS/OASH)
  Cc:                        Kyla Fullenwider
  Subject: Re: Connecting with Dr. Murthy's office


  Good Morning Eric -


  How about we shoo t for 3 :00-3 :30pm (El) on Wednesday, July 14?


  Thanks,



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Kevin




On Wed, Jul 7, 2021 at 5:11 PM Waldo, Eric (HHS/OASH)                                  wrote:
Hi Kevin,


Thanks so much for your note. Would love to have more of your colleagues join.


I'm traveling with Dr. Mtnthy for part of next week so it's a bit tight Here are some options:
Wednesday, July 14: 2:45pm-4:15pm ET; 5pm-6pm Ef
Thursday, July 15: 4: l 5pm-5pm ET


If none of those work, I have some time on Friday, July 16 and we can always discuss the following week.


Thanks so much!
Eric




From: Kevin Kane
Sent: Wednesday, July 7, 2021 4:51 PM
To: Waldo, Eric (HHS/OASH)
Cc: •■■■•■-•Kyla Fullenwider
Subject: Re: Connecting with Dr. Murthy's office


Hi Eric -


It's great toe-meet you as well. If possible, I wanted to include a few of my colleagues for this conversation
and see if you had any avafability next Wednesday or Thursday to meet. Would you happen to have any
time open either of those days? If not, rm more than happy to find another day that would work for you.


Thank you for reaching out and look forward to speaking with you soonl


Best Regards,


Kevin




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On Tue, Jul 6, 2021 at 9:49 AM Waldo, Eric (HHS/OASH)                               wrote:
Hi Alexandra and Kevin,


 I hope this finds you well. I'm Dr. Murthy's Director of Engagement and I wanted to reach out.


 As you know, one of the issues Dr. Murthy has been thinking about is how to help stop the spread of health
 misinformation as we continue to tackle COVID19 and beyond. I know you and yow· teams are working
 hard and thinking deeply about this issue. We'd love to chat over worn to connect and discuss what's on the
 horizon for our teams.


Is there a good time this week to connect? Happy to work with whomever on your team to coordinate
 calendars


 Thanks so much!
Eric



Eric W. Waldo [He/Him]
Director of Engagement
 Office of the U.S. Surgeon General, Dr. Vivek Murthy
U.S. Department of Health & Human Services




Kevin Kane I Government Affairs & Public Policy Manager,
YouTube I




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                 Government Affairs & Public Policy Manager,
  YouTube I




 Kevin Kane I Government Affairs & Public Policy Manager,
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                                  &

YouTube I




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   White House reviewing Section 230 amid efforts to push
   social media giants to crack down on misinformation
   By Betsy Klein, CNN
   Updated 10:31 AM EDT, Tue July 20, 2021




https://www.cnn.com/2021/07/20/politics/white-house-section-230-facebook/index.html                                                          1/15
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   Biden backs off claim Facebook is 'killing people'
                                                                                                                           01:26 - Source: CNN




   (CNN) — The White House is reviewing whether social media platforms should be held
   legally accountable for publishing misinformation via Section 230, a law that protects
   companies’ ability to moderate content, White House communications director Kate
   Bedingfield said Tuesday.

   The Section 230 debate is taking on new urgency in recent days as the administration has
   called on social media platforms to take a more aggressive stance on combating
   misinformation. The federal law, which is part of the Communications Decency Act,
   provides legal immunity to websites that moderate user-generated content.


   BIDEN'S WHITE HOUSE

   • Biden takes on inflation concerns as domestic agenda hangs in the balance: ‘These disruptions are
     temporary’
   • Biden backs away from his claim that Facebook is ‘killing people’ by allowing Covid misinformation

   • White House won’t commit to reopening northern border, despite announcement from Canada




   “We’re reviewing that, and certainly they should be held accountable,” Bedingfield told
   MSNBC when asked about Section 230 and whether social media companies like
   Facebook should be liable and open to lawsuits for publishing false information that
   causes Americans harm.

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                         n Children’s Hospital LA                                  Providence Pediatrics



                         [ l Cedars-Sinai Guerin Children's Hospital               UCLA Mattel Children’s Hospital


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   President Joe Biden, Bedingfield said, also believes it is “the responsibility of the people
   creating the content.”

   “It is a big and complicated ecosystem, and everybody bears responsibility to ensure that
   we are not providing people with bad information about a vaccine that will save their lives,”
   she said.




   Both Biden and then-President Donald Trump have advocated for revoking Section 230,
   but for different reasons.

                               RELATED ARTICLE
                               Biden backs away from his claim that Facebook is 'killing people' by allowing Covid
                               misinformation




   Biden has long railed against the law for its protection of social media companies from
   misinformation, whereas Trump has claimed that it leads to the censorship and
   suppression of conservative voices. Supporters of the provision, meanwhile, argue that the
   law protects free speech. Trump’s attempts to use the executive branch to change how
   Section 230 is applied to tech companies was called unconstitutional by legal experts,
   lawmakers and officials at the Federal Communications Commission.

   The Biden administration now confronts many of the same legal questions. But only
   Congress can amend the law itself, and while US lawmakers may be united in their hostility
           Ill pol it ics                                                        AudioLive
   to Big Tech, Republicans and Democrats on Capitol Hill remain split on how Section
   should be updated.
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   Biden kept the pressure on Facebook on Monday, saying he not satisfied with what the
   platform is doing to stop the spread of misinformation, but backing off his accusation from
   last week that it was directly responsible for “killing people.” And senior officials are in
   touch with Facebook behind the scenes as tensions with the platform have escalated.

   “Facebook isn’t killing people – these 12 people are out there giving misinformation.
   Anyone listening to it is getting hurt by it. It’s killing people. It’s bad information,” Biden
   said, appearing to cite data from the nonprofit Center for Countering Digital Hate (CCDH).
   A report published by the organization in March indicated that about a dozen people were
https://www.cnn.com/2021/07/20/politics/white-house-section-230-facebook/index.html                                                          3/15
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   super-spreaders of anti-vaccine misinformation.
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   The President continued, “My hope is that Facebook, instead of taking it personally, that
   somehow I’m saying Facebook is killing people, that they would do something about the
   misinformation, the outrageous misinformation about the vaccine. That’s what I meant.”



   CNN’s Brian Fung contributed to this report.



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From:         Kevi n Kane ~ g oogle.com)
Sent:         9/29/202112:56:30 PM
To:           Wa ldo,Eric (HHS/OASH) - @ hhs.gov]~ gma il.com
CC:           Jan Antonaros ~                  om)
Subject:      YouTube Vaccine Policy Announcement



Good Afternoon -
I'm writing to share an update we recently made to YouTube' s policies pertaining to vaccine-related
misinformation.

Today we have a COVID-19 Vaccine misinfo policy which allows us to remove a limited list of verified
false claims about COVID-19 vaccines.

We just announced that we will be introducing a new policy that prohibits content that includes
harmful misinformation about the safety, efficacy, or ingredients for currently administered vaccines
that are approved and confirmed to be safe and effective by local heatth authorities and by the World
Health Organization (WHO).

You can learn more about the anrouncement we made here and a detailed overview of OU' policy in
our help center here.

Please let me know if you have any questions.

Best Regards,
Kevin




!Kevin Kane JI Government Affairs & Public Policy Manager.I
jYouTube    II~                    lln




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Sent:             4 /16/2021 4 :25 :15 PM
To:               Flaherty, Rob EOP/WHO
                                          who.e p.                           twitter.com];
                                          r.co                               itter.com];     twitter.com
CC:               Fitzpatrick, Kelsey V. EO                                   op.govJ;           (I--IHS/ OASH}
                                       @hhs.gov]

Subject :         Twitter Va cci neMisinfo Briefing
Location:


Start:        4 /21/20 212:00:00 PM
End:          4 /21/20213 :00:00 PM
Show Time As: Tentative



Recurrence:       (none)



White House St aff will be briefed byTwitteron vaccine misinfo. Twitterto cover trends seen generally around vaccine
misinformation, t he tangible effects seen from recent po licy changes1 what int erventions are cu rrently be ing
implemented i n addi tion to previous po licy changes, and w ays the W hit e House (and ourCOVID experts) can partner in
product w ork.




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              Join by Telephone
              For higher quality , dial a number based on your current location.
              Dial:
                             US:




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                                 CONFIDENTIAL
                                                                          PLAINTIFF'S - 1
                                                                                                                           EXHIBIT

                                                                                                              I
                                                                                                                           Ys
From :               Crawford, Carol Y. (CDC/ 0D/OADC)

Sent:                6/29/2022 6:01 :54 PM
To:                  Rachel Gr uner ■■■■l@googl e.com]; Smi th, Fred (CDC/0D/OADC) -         @cdc.gov J; Lindsay Steel e
                                      @googl e.com]
Subject:             RE: Cl ai ms r eview



I'll check on t his but I t hin k I'll probably end up needing to referyou to another agency. I' ll ge t back to you.



From: Rachel Gruner                @google.com>
Sent: Wednesday, Ju ne 29, 2022 4:38 PM
To: Crawfo rd, Carol Y. (CDC/OD/OADC)-    @cdc.gov>; Smith, Fred (CDC/OD/OADC-                      @cdc.gov>; Lindsay Steele
               @'lgoogle.com>
Subject: Claims revi ew

Hi Carol and Fred,

The You Tube Pol icy team is requesting evide nee-based input on the clai ms be Iow. In t he past, t he CDC has revi ewed
COVID i nformation claims and commen t ed TRUE or FALSE+ add any add itional context needed .

CLAIM: High doses of progesteron e is a safe method of reversing chemical abortion (mifepristone & misoprostol)
CLAIM : High doses of progesterone is an effective method of revers ing chemical abortion (mifepristone & misoprostol)

Please let me know if you have any questions or concerns .

Thanks, Rachel




 I!xl    The linked ...
                                                           Rachel Gruner, MPH
                                                         Health Outreach Lead, Google

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